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16                               UNITED STATES DISTRICT COURT

17                                        DISTRICT OF NEVADA

18

19     TESLA, INC.,                                 Case No. 3:18-cv-00296-LRH-CBC
                             Plaintiff,
20            v.                                  APPENDIX OF EXHIBITS IN SUPPORT
                                                  OF TESLA, INC.’S MOTION FOR
21     MARTIN TRIPP,                              SUMMARY JUDGMENT OR, IN THE
                                                  ALTERNATIVE, FOR PARTIAL
22                           Defendant.
                                                  SUMMARY JUDGMENT
23
                                                   (VOLUME 3 of 3)
24

25
       AND RELATED COUNTERCLAIMS
26

27

28
     Case 3:18-cv-00296-MMD-CLB Document 160 Filed 03/31/20 Page 2 of 6



 1            Plaintiff and Counterclaim Defendant, Tesla, Inc., submits an Appendix of Exhibits in

 2    Support of its Motion for Summary Judgment, or in the alternative, Partial Summary Judgment.

 3
   Ex       Description                                                       Vol. #      Page Nos.
 4   1      September 4, 2019 Martin Tripp Deposition Excerpts [Filed           1        MSJ_001-046
            under seal]
 5     2    August 27, 2019 Nicolas Gicinto Deposition Excerpts [Filed           1       MSJ_047-081
            under seal]
 6     3    January 22, 2019 Michael Persyn Deposition Excerpts                  1       MSJ 082-086
       4    September 6, 2019 Shamara Bell Deposition Excerpts                   1       MSJ 087-102
 7     5    June 5, 2019 Sarah O’Brien Deposition Excerpts                       1       MSJ 103-109
       6    Martin Tripp’s June 14, 2018 interview with Nicolas Gicinto          1       MSJ_110-147
 8          and Jake Nocon (TESS-TRIPP_0028450-739 ) [Filed under
            seal]
 9     7    Exhibit 74 to the deposition of Martin Tripp, screenshots of         1       MSJ_148-149
            messages between Martin Tripp and James Uelmen (TES-
10          TRIPP 0021837)
       8    Evelyn Cheng, Tesla shares falls after Moody’s downgrades            1       MSJ_150-158
11          credit rating, CNBC.COM (Mar. 27, 2018)
       9    Sonari Glinton, Out Of The Gate, Tesla Stumbles On Its Mass-         1       MSJ_159-167
12          Market Car, NPR (Oct. 3, 2017)
       10   Neal E. Boudette, For Tesla, ‘Production Hell’ Looks Like the        1       MSJ_168-170
13          Reality of the Car Business, THE NEW YORK TIMES (April 3,
            2018)
14     11   Exhibit 70 to the deposition of Martin Tripp, the June 2, 2018       1       MSJ_171-173
            email correspondence between Martin Tripp and Michael
15          Bowling, subject line: “Meet to discuss the following,”
            (TRIPP00951-52 ) [Filed under seal]
16     12   October 16, 2017 email correspondence and attachment                 1       MSJ_174-177
            between Michael Bowling and Martin Tripp, subject line: “FW
17          Martin Tripp,” (TES-TRIPP 0026707) [Filed under seal]
18     13   Tesla Motor’s Inc. Code of Business Conduct and Ethics               1       MSJ_178-186
            (TRIPP00773-80) [Filed under seal]
19     14   Tesla’s Communications Policy and Confidentiality Agreement          1       MSJ_187-191
            (TRIPP000781-84) [Filed under seal]
20     15   Tesla Motors, Inc. Employee Proprietary Information and              1       MSJ_192-196
            Inventions Agreement (TRIPP000820-23) [Filed under seal]
21     16   July 27, 2017 Applicant Non-Disclosure Agreement with Tesla          1       MSJ_197-199
            (GGL000140 0001) [Filed under seal]
22     17   Exhibit 66 to the deposition of Martin Tripp, the February 20,       1       MSJ_200-202
            2018 email correspondence between Chris Guenther and
23          Michael Bowling, subject line: “FW:3DU Stator NCM
            personnel issue(s),” (TES-TRIPP_0021669-70) [Filed under
24          seal]
       18   March 8, 2018 email correspondence between Michael Bowling           1       MSJ_203-204
25          and Martin Tripp (TES-TRIPP 0021668) [Filed under seal]
       19   Exhibit 69 to the deposition of Martin Tripp, the May 25, 2018       1       MSJ_205-206
26          email correspondence between Michael Bowling nad Martin
            Tripp (TES-TRIPP 0000846) [Filed under seal]
27     20   May 25, 2018 email correspondence between Michael Bowling            1       MSJ_207-208
            and Martin Tripp, subject line: “Verbal Warning follow up,”
28          (TES-TRIPP 00008460) [Filed under seal]


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 1    21   May 27, 2018 email correspondence from mtripp@tesla.com to        1   MSJ_209-211
           martytripp@icloud.com, subject line: “Fwd: NCM updates-to
 2         help reduce NCM WIP level,” (TES-TRIPP_00219091-92)
           [Filed under seal]
 3    22   May 27, 2018 email correspondence from “Marty Tripp” to           1   MSJ_212-213
           “Me,” subject line: “T Scrap 2018,” (GGL000248)
 4    23   May 27, 2018 email correspondence from Martin Tripp to            1   MSJ_214-218
           llopez@businessinsider.com, subject line: “Pics,”
 5         (GGL000092-GGL000092 0003) [Filed under seal]
      24   Exhibit 26 to the deposition of Martin Tripp, the June 5, 2018    1   MSJ_219-220
 6         email correspondence from Martin Tripp to Linda Lorel,
           subject line: “Valeo robot being removed and pic of the query
 7         for all model 3’s.”
      25   May 29, 2018 email correspondence from Martin Tripp to            1   MSJ_221-232
 8         Linette Lopez, subject line: “Email to Elon,” (GGL000098-
           GGL000098.0010) [Filed under seal]
 9    26   June 1, 2018 email correspondence from Martin Tripp to            2   MSJ_233-253
           llopez@businessinsider.com, subject line: “Scrap Tableau,”
10         (GGL000243-GGL000243 0002.0002) [Filed under seal]
      27   Exhibit 1 to the deposition of Martin Tripp, the May 27, 2018     2   MSJ_254-255
11         email correspondence between Martin Tripp and Linette Lopez
           : “TESLA (From someone that works there)” [Filed under
12         seal]
      28   May 27, 2018 email correspondence between Martin Tripp and        2   MSJ_256-404
13         llopez@businessinsider.com, subject line: “T Scrap 2018,”
           (GGL000077-GGL000077 0006) [Filed under seal]
14    29   June 6, 2018 email correspondence between Kamran Mumtaz           2   MSJ_405-408
           and Linette Lopez, subject line: “New machine from Germany,”
15         (TES-TRIPP 0012897-99)
      30   Linette Lopez, Internal documents reveal Tesla is blowing         2   MSJ_409-414
16         through an insane amount of raw material and cash to make
           Model 3s, and production is still a nightmare, BUSINESS
17         INSIDER (June 4, 2018)
      31   Linette Lopez, Tesla's new Gigafactory robots that are            2   MSJ_415-418
18         supposed to help it ramp up Model 3 production aren't working
           yet, BUSINESS INSIDER (June 6, 2018)
19    32   June 6, 2018 email correspondence between Martin Tripp and        2   MSJ_419-426
           Linette Lopez, subject line: “New machine from Germany,”
20         (GGL000158-GGL000158.0006)
      33   Text message correspondence between Martin Tripp and              2   MSJ_427-447
21         Linette Lopez, (TRIPP000873-892) [Filed under seal]
22    34   June 19, 2018 email correspondence between                        2   MSJ_448-449
           noreplynotifications@tesla.com and Martin Tripp, subject line:
23         “Information for Employees Departing Tesla,”
      35   Exhibit 58 to the deposition of Martin Tripp, the June 20, 2018   2   MSJ_450-452
24         email correspondence between Martin Tripp and Julia Carrie
           Wong, subject line: “Termination/Lawsuit”
25    36   Exhibit 2 to the Deposition of Shamara Bell, the June 21, 2018    2   MSJ_453-455
           email correspondence between Shamara Bell and Jeff Jones,
26         subject line: “Martin Tripp Call”
      37   Exhibit 11 to the Deposition of Shamara Bell, the June 20, 2018   2   MSJ_456-457
27         email correspondence between Brooke Airey and Avery
           Bustamante, subject line: “FW: Martin Trip: Possible Threat,”
28         (TRIPP00906)


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 1    38   Exhibit 12 to the Deposition of Shamara Bell, the June 20, 2018   2   MSJ_458-461
           email correspondence between Avery Bustamante, Shamara
 2         Bell, Angel Besinaiz, Brooke Airey, and Kristin Kerowicz,
           subject line: “Martin Trip: Possible Threat,” (TES-
 3         TRIPP 0003386-88)
      39   June 20, 2018 email correspondence between Shamara Bell and       2   MSJ_462-464
 4         Kristin Kerowicz, subject line: Martin Trip: Possible Threat,”
           (TES-TRIPP 0004022-23)
 5    40   June 20, 2018 email correspondence between Sarah O’Brien          2   MSJ_465-475
           and Julia Wong, subject line: “Query re: Martin Tripp and your
 6         emails,” (TES-TRIPP 0010122-31)
      41   June 20, 2018 email correspondence between Drew Harwell           3   MSJ_476-483
 7         and Dave Arnold, subject line: “Hi from Washington Post,”
           (TES-TRIPP 00221996-2002)
 8    42   June 21, 2018 email correspondence between Don Reisinger          3   MSJ_484-486
           and Dave Arnold, subject line: “Fortune inquiry on Tripp’s
 9         comments” (TES-TRIPP 0004024-25)
      43   Exhibit 3 to the Deposition of Dave Arnold, the June 20, 2018     3   MSJ_487-494
10         email correspondence between Drew Harwell and Dave Arnold,
           subject line: “Hi from Washington Post” (TES-
11         TRIPP 0006183-89)
      44   June 21, 2018 email correspondence between Sarah O’Brien          3   MSJ_495-509
12         and Dave Arnold, subject line: “Hi from Washington Post”
           (TES-TRIPP 0009687-700) [Filed under seal]
13    45   Exhibit 4 to the deposition of Dave Arnold, the June 21, 2018     3   MSJ_510-512
           email correspondence between Dave Arnold and Lora Kolodny,
14         subject line: “CNBC query-Martin Tripp interview in WaPo –
           whistleblower claims” (TES-TRIPP 0006175-76)
15    46   August 28, 2018 email correspondence from Arlan Adamsen to        3   MSJ_513-516
           himself, subject line: “FW: Conversation with Kristin
16         Kerowicz” (TES-TRIPP 0000971-73)
      47   Sean Gouthro, Storey County Sheriff’s Office Felony Report        3   MSJ_517-531
17         (TRIPP01253-66)
      48   Excerpts from the certified transcript of James Uelmen’s June     3   MSJ_532-541
18         25, 2018 interview with Nicolas Gicinto and Justin Zeefe (TES-
           TRIPP 0028348)
19    49   Martin Tripp’s Second Amended Response and Objections to          3   MSJ_542-548
           Tesla’s Interrogatory No. 7, served on June 13, 2019 [Filed
20         under seal]
      50   Tesla’s Amended Response and Objections to Martin Tripp’s         3   MSJ_549-554
21         Interrogatory No. 13, served on May 20, 2019 [Filed under
           seal]
22
      51   Exhibit 41 to the deposition of Martin Tripp                      3   MSJ_555-557
23    A    Tesla CEO Elon Musk, stressed but "optimistic," predicts big      3   MSJ_558-563
           increase in Model 3 production, CBS NEWS (April 13, 2018)
24     B   Linette Lopez, Internal documents reveal Tesla is blowing         3   MSJ_564-569
           through an insane amount of raw material and cash to make
25         Model 3s, and production is still a nightmare, BUSINESS
           INSIDER (June 4, 2018)
26     C   Linette Lopez, Tesla's new Gigafactory robots that are            3   MSJ_570-573
           supposed to help it ramp up Model 3 production aren't working
27         yet, BUSINESS INSIDER (June 6, 2018)
       D   Tesla Motors, Inc. Employee Proprietary Information and           3   MSJ_574-578
28         Inventions Agreement (TRIPP000820-23) [Filed under seal]


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 1     E   Tesla’s Communications Policy and Confidentiality Agreement        3       MSJ_579-583
           (TRIPP000781-84) [Filed under seal]
 2     F   June 18, 2018 Email from Elon Musk to Everyone, subject line:      3       MSJ_584-586
           “Some concerning news” (TES-TRIPP 0001221-1222)
 3     G   June 20, 2018 email correspondence between Elon Musk, Todd         3       MSJ_587-588
           Maron and Sarah O’Brien, subject line: “Termination Lawsuit”
 4         (TRIPP000868)
       H   June 20, 2018 email correspondence between Elon Musk, Julie        3       MSJ_589-596
 5         Wong, David Arnold, Press and Sarah O’Brien, subject line:
           “Termination Lawsuit” (TES-TRIPP 0016924-16930)
 6     I   July 5, 2018 Tweet from Elon Musk @lopezlinette (TES-              3       MSJ_597-598
           TRIPP 0004648)
 7

 8          Respectfully submitted this 31st day of March, 2020.
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     Case 3:18-cv-00296-MMD-CLB Document 160 Filed 03/31/20 Page 6 of 6



 1                                   CERTIFICATE OF SERVICE

 2           I HEREBY CERTIFY that I am an employee of McDonald Carano LLP, and that on the

 3    March 31, 2020, a true and correct copy of the foregoing APPENDIX OF EXHIBITS IN

 4    SUPPORT OF TESLA, INC.’S MOTION FOR SUMMARY JUDGMENT OR, IN THE

 5    ALTERNATIVE, FOR PARTIAL SUMMARY JUDGMENT (VOLUME 3 of 3) was

 6    electronically filed with the Clerk of the Court by using CM/ECF service which will provide

 7    copies to the following counsel of record registered to receive CM/ECF notification.

 8
                                                  /s/ CaraMia Gerard
 9                                                An employee of McDonald Carano LLP

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